
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5350-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5300-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5310-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5351-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4350-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5354-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5650-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5357-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5380-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5550-14.pdf (mistyped character)


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